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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



RAYMOND C. FAIRFIELD,

                Plaintiff,                                       Hon. Janet T. Neff

v.                                                               Case No. 1:15-cv-00792

IONIA COUNTY CIRCUIT COURT, et al.,

            Defendants.
____________________________________/


                             REPORT AND RECOMMENDATION


                Plaintiff initiated this matter on August 3, 2015, against Ionia County Circuit Court,

Unknown Hoort, Dan Balice, Dan Wacha, Lauri Antcliff, Lauri Kirkhoff, Paul Neil, Bradley

Campbell, Michael Fink, Roger Vandermolen, and Ryan Thome. Having granted Plaintiff’s motion

to proceed as a pauper, the Court has conducted an initial review of the complaint pursuant to 28

U.S.C. § 1915(e)(2) to determine whether it is frivolous, malicious, or fails to state a claim upon

which relief can be granted. Having conducted this initial review, the Court concludes that

Plaintiff’s complaint must be dismissed for failure to state a claim upon which relief may be granted.

                Pursuant to Federal Rule of Civil Procedure 12(b)(6), a claim must be dismissed for

failure to state a claim on which relief may be granted unless the “[f]actual allegations [are] enough

to raise a right for relief above the speculative level on the assumption that all of the complaint’s

allegations are true.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007).

                As the Supreme Court more recently held, to satisfy this Rule, a complaint must

contain “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
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face.’” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009). This plausibility standard “is

not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

has acted unlawfully.” If the complaint simply pleads facts that are “merely consistent with” a

defendant’s liability, it “stops short of the line between possibility and plausibility of ‘entitlement

to relief.’” Id. As the Court further observed:

               Two working principles underlie our decision in Twombly. First, the
               tenet that a court must accept as true all of the allegations contained
               in a complaint is inapplicable to legal conclusions. Threadbare
               recitals of the elements of a cause of action, supported by mere
               conclusory statements, do not suffice. . .Rule 8 marks a notable and
               generous departure from the hyper-technical, code-pleading regime
               of a prior era, but it does not unlock the doors of discovery for a
               plaintiff armed with nothing more than conclusions. Second, only a
               complaint that states a plausible claim for relief survives a motion to
               dismiss. . .Determining whether a complaint states a plausible claim
               for relief will, as the Court of Appeals observed, be a context-specific
               task that requires the reviewing court to draw on its judicial
               experience and common sense. But where the wellpleaded facts do
               not permit the court to infer more than the mere possibility of
               misconduct, the complaint has alleged - but it has not “show[n]” -
               “that the pleader is entitled to relief.”

Id. at 1949-50 (internal citations omitted).

               When evaluating a complaint under Rule 12(b)(6), the Court may consider the

complaint and any exhibits attached thereto, public records, and items appearing in the record of the

case. See Bassett v. National Collegiate Athletic Assoc., 528 F.3d 426, 430 (6th Cir. 2008); see also,

Continental Identification Products, Inc. v. EnterMarket, Corp., 2008 WL 51610 at *1, n.1 (W.D.

Mich., Jan. 2, 2008) (“an exhibit to a pleading is considered part of the pleading” and “the Court

may properly consider the exhibits. . .in determining whether the complaint fail[s] to state a claim

upon which relief may be granted without converting the motion to a Rule 56 motion”); Stringfield




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v. Graham, 212 Fed. Appx. 530, 535 (6th Cir. 2007) (documents “attached to and cited by” the

complaint are “considered parts thereof under Federal Rule of Civil Procedure 10(c)”).

               Plaintiff’s complaint alleges no facts stating a federal claim as it includes only legal

conclusions and a list of purported defendants. Evaluated pursuant to the aforementioned standard,

the Court concludes that any facts alleged in Plaintiff’s complaint, even if accepted as true, fail to

rise to the standards of Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007) to state a claim upon which relief may be granted in this court. Accordingly,

the undersigned recommends that Plaintiff’s claims be dismissed with prejudice.



                                          CONCLUSION

               For the reasons articulated herein, the undersigned recommends that Plaintiff’s

complaint be dismissed. The Court must also decide whether an appeal of this action would be in

good faith within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d

601, 611 (6th Cir. 1997). Good faith is judged objectively, Coppedge v. United States, 369 U.S.

438, 445 (1961), and an appeal is not taken in good faith if the issue presented is frivolous, defined

as lacking an arguable basis either in fact or law. See Dellis v. Corr. Corp. of Am., 257 F.3d 508,

511 (6th Cir. 2001). For the same reasons that the undersigned recommends dismissal of the action,

the undersigned discerns no good faith basis for an appeal and recommends that, should Plaintiff

appeal this decision, the Court assess the $505.00 appellate filing fee pursuant to § 1915(b)(1), see

McGore, 114 F.3d at 610-11.

               OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C).


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Failure to file objections within the specified time waives the right to appeal the District Court’s

order. See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th

Cir.1981).


Date: August 14, 2015                                  /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge




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